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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DISTRICT

UNITED STATES OF AMERICA,                     )
                                              )
                        Plaintiff,            )
                                              )
v.                                            ) No. 4:16-CR-258 CEJ (NAB)
                                              )
ALDEN DICKERMAN,                              )
                                              )
                        Defendant.            )

GOVERNMENT'S RESPONSE TO DEFENDANT=S MOTION FOR FRANKS HEARING


       Comes now the United States of America, by and through its attorneys, Richard G.

Callahan, United States Attorney for the Eastern District of Missouri, and Colleen Lang,

Assistant United States Attorney for said district, and files its Response to Defendant=s Motion

for a Franks hearing.

       Defendant filed a motion and memorandum requesting a hearing pursuant to Franks v.

Delaware, 438 U.S. 154 (1978). In support of his motion, defendant alleges that the affiant’s

affidavit was inherently misleading and contained false statements and relevant omissions. As

subsequently discussed in detail, these allegations are misplaced. Defendant fails to identify that

any statements contained in the affidavits were deliberately or recklessly false. Nor does

defendant show that omitted truthful statements, if supplemented in the affidavit, would have

affected the probable cause determination. Accordingly, a showing has not been made to support

a Franks hearing in this case.




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                                 I.       FACTUAL BACKGROUND 1

           A. Background on Freenet and Law Enforcement Investigations on Freenet

         In September of 2011, Special Investigator (“S.I.”) Wayne Becker of the Dent County

Sheriff’s Department began to collect “keys” and files of child pornography located and being

shared on “Freenet.” In April of 2012, Special Investigator (“S.I.”) Wayne Becker of the Dent

County Sheriff’s Department began to review logs for requests of files containing child

pornography on Freenet in order to find individuals who were looking for and sharing child

pornography on Freenet. Freenet is a type of peer-to-peer network software that allows users to

share files over the Internet. It uses a decentralized, distributed data store to keep and deliver

information. It is free and publicly available software for publishing and communicating on the

Internet. Freenet's focus is to provide a place on the Internet for free speech and anonymity. In

Freenet, each file is made up of several blocks, or splits, that are stored independently of each

other. To view a file, you must request all the blocks that are necessary to reconstruct it. The

keys used to identify a block to retrieve are the hash values of the blocks. Users contribute to the

network by giving bandwidth and a portion of their hard drive for storing files. Freenet transmits

data between nodes, also known as peers. Freenet also stores data on the nodes. The process of

finding a piece of data, or a place to store data, is called routing. Nodes are the computers

running Freenet. A node in Freenet interacts directly with its directly connected peers. Each

peer’s IP address is visible to a node, but a node does not learn the IP addresses of its peers’

peers. On the current version of Freenet, a node may have up to 142 peers. (See Exhibit 1,

“Statistical Detection of Downloaders of Child Exploitation Materials in Freenet” for more detail


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  This factual background is identical to the factual background laid out in the Government’s Response to
Defendant’s Motion to Suppress Evidence. The factual summary provided is intended as a general guide and is not
intended as a comprehensive statement of the government's case.
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on Freenet).

       Researchers and law enforcement studied the Freenet open source code and analyzed

activity on Freenet. Through their study they were able to create a statistical algorithm to

determine the likelihood that a peer is the requestor of child pornography files, versus being a

peer that only relayed the request. The timeline for these activities are as follows. Beginning in

2012, S.I. Becker collected keys in order to build database of files on Freenet that are associated

with known or suspected child pornography images and videos. Researchers at the University of

Massachusetts Amherst helped modify the Freenet program for law enforcement use. The

modification logs the IP address, the content hash key values, the hops-to-live (“HTL”), types of

requests, and the date/time of the requests as it passes through the node. Back in 2012 and 2013,

this information was then collected by SI Becker’s ICAC lab in Salem, Missouri. SI Becker

analyzed that information to determine if the IP address appeared to be the likely requester of

known child pornography files on Freenet.

       SI Becker began investigating child pornography offenders on Freenet in 2012 and 2013.

In 2014, the research staff at University of Massachusetts Amherst worked with SI Becker to

develop a new method to determine if an IP address appeared to be requesting known child

pornography files on Freenet.

       In 2015, these researchers developed a statistical algorithm for determining whether a

peer is more likely to be requesting child pornographic material on Freenet or relaying such a

request. This algorithm was still being refined at the time of SI Becker’s investigation into the

defendant’s requests for child pornography on Freenet.     At the time of investigation into the

defendant, SI Becker was using a method that is fundamentally similar to what the algorithm

does now because both methods count requests for blocks that make up a file of known child

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pornography. A count of requests distinguishes the requesters from relayers.


           While Freenet tries to be a harbor for anonymity, the website warns about the possibility

that an IP address could be recognized. The website states, “If you are connected to a node, and

can recognise the keys being requested (probably because it was posted publicly), you can show

statistically that the node in question probably requested it, based on the proportion of the keys

requested from that node, the locations of nearby nodes, the HTL on the requests and so on. 2”

The warning is basically what law enforcement is doing – recognizing known keys and

determining whom is a requestor versus a relayer by the number of blocks being requested.


           The mathematical algorithm that is currently in use for the law enforcement version of

Freenet is laid out in further detail in the article, “Statistical Detection of Downloaders of Child

Exploitation Materials in Freenet,” and was written in July of 2016. Exhibit 1. The method the

algorithm uses is very similar to the method that SI Becker used in 2015. The article sums up the

algorithm as follows, “[b]riefly, the algorithm works by looking at the cumulative number of

requests for blocks corresponding to a distinct file of interest made by any single node. It then

calculates whether the number of requests observed is most likely what we would expect to

observe if the peer were the originator of the request or just replaying request on behalf of other

nodes.” Ex. 1, page 4, section 4.


                                                 B. Instant Offense


           While investigating Freenet requests on April 2, 2015, S.I. Becker came across a

computer with an IP address in the state of Missouri that requested a file of known child


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    Warning from the Freenet Project webpage (https://wiki.freenetproject.org/FAQ).
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pornography. SI Becker documented the data related to that IP address’ request for the file of

child pornography on Freenet. Exhibit 2, SI Becker’s Excel Spreadsheet. S.I. Becker collected

the file and IP address information and sent it to Det. Michael Slaughter of the St. Louis County

Police Department who sent a subpoena to AT&T Internet services to determine the subscriber

information for that IP address. AT&T responded that the name and address of the subscriber

was Janis Dickerman at 9524 Corregidor Drive, St. Louis, Missouri, 63134.

       A computer search of the address revealed that Janis Dickerman had Ameren UE utilities

in her name at that residence since 1959. A search warrant was prepared by Det. Slaughter and

signed by St. Louis County Judge Borbonus on August 18, 2015. The search warrant stated

“While reviewing requests received by undercover Freenet nodes, located in Missouri, SI Becker

observed IP address 172.12.235.62 routing/or requesting suspected child pornography blocks.

The number and timing of the requests was significant enough to indicate that the IP address was

the apparent original requestor of the file.” Exhibit 3, Search Warrant Affidavit, ¶ 6. “SI Becker

observed that on April 2, 2015, between 11:08 p.m. UTC and 11:10 p.m. UTC a computer

running Freenet software, at IP address 172.12.235.62, requested from Freenet law enforcement

nodes 69 parts, or blocks, of the following file.” Ex. 3, ¶ 7. The affiant then identified that file

with its’ name and unique SHA1 hash value. The file was then described as a folder containing

seventeen (17) images of a young prepubescent child in a lascivious display of her genitals and

being anally penetrated. In paragraphs twelve (12) through twenty-two (22) of the search warrant

affidavit, Freenet was described and explained at length. Ex. 3.

       The search warrant was executed by St. Louis County Police on August 18, 2015, at 9524

Corregidor Drive, St. Louis, Missouri. The defendant, Alden Dickerman, was the only person

home during the execution of the warrant. After being read his Miranda warnings, the defendant

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told police that he lived in the home with his mother (Janis Dickerman) and his sister. The

defendant stated that he owned three computers including a laptop. He stated that he was only

user of his laptop, which was password protected. Further, the defendant told Det. Slaughter that

he had used Freenet software. When asked about downloading pornography from Freenet, the

defendant asked for an attorney and questioning about the case ceased.

       Meanwhile Det. Partney and S.I. Becker searched the home for computers and computer-

related devices. They previewed the defendant’s computers at the residence to see if they

contained child pornography. These computers were located in the defendant’s bedroom. Two

of the defendant’s computers did not contain child pornography. A third computer belonging to

the defendant was an Asus laptop computer that was password protected. Detectives located a

typed list of passwords in the defendant’s bedroom and were able to use one of the passwords to

access the Asus laptop. S.I. Becker determined the Asus laptop contained Freenet software and

files of child pornography.

       On August 21, 2015, S.I. Becker began a forensic review of the Asus laptop. S.I. Becker

is a qualified forensic examiner. S.I. Becker located 597 images of child pornography and 43

videos of child pornography on the defendant’s laptop computer’s Hitachi hard drive. Freenet

and the related Frost software were also located on the laptop. Frost is a group message board

that relies on the Freenet peer-to-peer network. S.I. Becker also found that the defendant was

subscribed to three boards on Frost, “pthc,” “lolicam,” and “hurtcore.” The titles of the boards

are indicative of child pornography. Many of the images and videos found on the laptop

depicted prepubescent minor children, under the age of twelve, engaging in sexually explicit

conduct. S.I. Becker noted that about thirty-two (32) of the images and nine (9) of the videos

depicted the sex abuse of children as young as toddlers or infants. Many of the images and

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videos also portrayed sadistic or masochistic conduct.

       On June 22, 2016, a federal grand jury indicted the defendant on one count of Possession

of Child Pornography in violation of Title 18 U.S.C. Section 2252(a)(5)(B).

                                         II. LEGAL ANALYSIS

       A Franks hearing should not be granted unless there is actual evidence that the search

warrant was invalid.

       “There is, of course, a presumption of validity with respect to the affidavit supporting
       the search warrant. To mandate an evidentiary hearing, the challenger's attack must be
       more than conclusory and must be supported by more than a mere desire to cross-
       examine. There must be allegations of deliberate falsehood or of reckless disregard for
       the truth, and those allegations must be accompanied by an offer of proof.” Franks v.
       Delaware, 438 U.S. 154, 171 (1978).

The defendant has raised mere allegations in his motion that the affiant misrepresented the

accuracy of his findings in the search warrant. The defendant has not provided factual evidence

or data to back up these assertions. The defense has failed to meet its burden to prove that the

presumed valid affidavit in support of the warrant was actually invalid.

       It is well established that “to obtain relief under Franks, ‘a defendant must first

demonstrate that the law enforcement official deliberately or recklessly included a false

statement, or omitted a truthful statement from his warrant affidavit.” United States vs Mashek,

606 F.3d 922, 928 (8th Cir.2010). see also United States v. McIntryre, 646 F.3d 1107, 1113-14

(8th Cir.2011)(quoting Mashek). Furthermore, before a defendant may receive such a hearing,

the reviewing magistrate judge must determine that the allegedly false statement was necessary

to the finding of probable cause. Franks v. Delaware, 438 U.S. 154 (1978); see also United

States v. Mashek, 606 F.3d 922, 928 (8th Cir.2010)(citing United States v. Reinhollz, 245 F.3d

765, 774 (8th Cir.2001); United States v. Jansen, 470F.3d 762, 765-66 (8th Cir. 2006); United


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States vs. Sandoval-Rodriguez, 452 F,3d 984,988 (8th Cir. 2006).

       “Allegations of negligence or innocent mistake will not suffice to demonstrate a

recklessness or deliberate falsehood.” Mashek, 660 F.3d at 928 (citing Franks, 438 U.S. at 171).

“In determining if ‘an affiant’s statements were made with a reckless disregard for the truth,’ the

test is whether, after viewing all the evidence, that affiant must have entertained serious doubts

as to the truth of his statement or had obvious reasons to doubt the accuracy of the information

he reported.’” McIntyre, 646 F.3d at 1114 (quoting United States v. Butler, 594 F.3d 955, 961

(8th Cir. 2010). “A showing of deliberate or reckless falsehood is not lightly met.” Id.

       The defendant has not met his burden with regard to either prong of Franks. A Franks

hearing should not be granted unless there is actual evidence that the search warrant was invalid.

The search warrant is valid on its’ face. With respect to the allegation that Detective Slaughter’s

affidavit was inherently misleading and contained false statements, defendant never proves how

the statement is false. The defendant writes in their motion that the following statement from the

search warrant affidavit was a false representation of the findings of SI Becker’s investigation,

“[t]he number and timing of the requests was significant enough to indicate that the IP address

was the apparent original requester of the file.” Defendant alleges that the significant number and

timing of the requests could not have been apparent unless SI Becker independently verified the

assumptions. SI Becker did verify the number and timing of the requests by tracking them in an

Excel spreadsheet. Ex 2. This spreadsheet has been provided to the defendant along with two

articles regarding how Freenet works. The number and timing of the requests was significant

enough to determine the defendant was the requestor of the file. While using a law enforcement

version of Freenet modified to passively log observations, SI Becker could observe the streams

of data coming through Freenet from the defendant’s IP address. This significant data logged

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included information such as the time and frequency of requests for certain files of interest from

a node. Ex. 2. SI Becker then reviewed the significant data and calculate the percentage of even

share. Ex. 2. The higher the percentage of even share and the more requests per second there are

for a file of interest – the more likely the requests are coming from the requestor and not a

forwarder. Ex. 1, Section 3 and Ex. 2. The defendant requested a file of interest titled, “April –

Another Set 2 (set 2).zip,” on Freenet. Within 1 minute and 58 seconds the defendant requested

the multiple blocks that together will make up the file. The law enforcement node, “LE #693,”

received 69 requests for that file that when complete contains 783 data blocks. Thus, 8.81% of

the minimum necessary requests went through the law enforcement node on Freenet from the

defendant’s IP address. The defendant had an average of 56.9 peers during the period of

investigation (which includes the law enforcement node). On average, each peer would expect to

receive an even proportion (i.e. share) of requests. If the defendant had been a relayer rather than

a requestor, the law enforcement node would have received a much smaller percentage of the

requests. The process was repeated three times for three separate files on three separate days. Ex.

2. SI Becker did verify the conclusion “that requests were significant enough,” and kept track of

this verification in his notes. Therefore, the statement in the affidavit is not false, but true

because it is the correct conclusion to be drawn from SI Becker’s investigation of the defendant

on Freenet.

        The defendant goes to assert that above quoted statement from the search warrant is a

false representation because it omits that SI Becker independently verified his conclusions. SI

Becker did verify the conclusion “that requests were significant enough” as detailed in the

paragraph above. While this analysis performed by SI Becker was not in the search warrant,

only the conclusion of it, that does not make the search warrant misleading. Not every detail of

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an investigation needs to be contained in the search warrant. Omissions to the search warrant are

different then misrepresentations and require a different two-step test. The defense “must prove

first that facts were omitted with the intent to make, or in reckless disregard of whether they

make, the affidavit misleading, and, second, that the affidavit, if supplemented by the omitted

information, could not support a finding of probable cause.” United States v. Allen, 297 F.3d

790, 795 (8th Cir. 2002).

        By supplementing the missing information into the search warrant, namely that SI

Becker kept track of the probability of number and timings of the requests from defendant’s IP

address on Freenet, it actually bolsters the probable cause for the search warrant, not decreases it.

Further, the information is not misleading since it is does not lead to a result other than the one

described in the search warrant. The search warrant affidavit describes in paragraphs twelve (12)

through twenty-two (22) how Freenet works. Ex. 3.

       Defendant next argues that Detective Slaughter’s omission of the behavior of Freenet’s

routing necessary to estimate the probability that the received requests originated from the peer

they were received from (instead of forwarded form elsewhere) is based in part on how many

requests are received. Defendant asserts that the routing behavior and how it was working on a

particular day could affect the interpretation of the results. Defendant goes on to then allege that

a potential for false positives was also omitted from the search warrant affidavit. In response, the

routing was working correctly on April 2, 2015. SI Becker knows from his extensive experience

on Freenet and how it works, that the routing and bandwidth had to have been working properly

for several reasons. First, the defendant had an average of 59.6 peers on Freenet at the time of the

request for the file titled, “April – Another Set 2 (set 2).zip.” The minimum number of peers on

Freenet is ten peers. To have as many as 59.6 peers, as the defendant did, the routing and

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bandwidth was working properly. Second, the timing of the blocks being received by the

defendant after he requested them is significant. The requests for the blocks that make up the file

were sent by the defendant were logged at being within one minute and fifty-eight seconds. Once

the file is requested, Freenet locates blocks that make up the file on different nodes on Freenet.

The blocks are then sent to the requestor and once the minimum number of blocks needed to

create the file are received, then the file can then be downloaded by the requestor. Based on SI

Becker’s experience on Freenet, if the bandwidth was poor then the defendant would have had

much less peers, closer to 10 or lower, and would not have requested the blocks of the file so

quickly.

       Third, the defendant alleges there is a potential for false positives that might have

resulted and that should have been in the search warrant affidavit. In this case, false positives did

not result. No false positive rate has been established for the exact method SI Becker was using

in 2015, however, that method is very similar to the one documented in Ex. 1. In July of 2016, a

false positive rate was estimated by the researchers from University of Massachusetts at Amherst

for the method described in Exhibit 1. In a test sampling four months of data, they observed a

false positive rate of 1.35%. Plus, in this case, both Freenet and child pornography files were

located on the defendant’s computer during the execution of the search warrant – confirming that

the search warrant was not based on a false positive result. Further, SI Becker saw that the

defendant’s IP address requested and received child pornography files on Freenet on June 6,

2015, and June 13, 2015. Since defendant’s IP address was seen downloading two more files of

child pornography in June of 2015, the likelihood that the defendant’s April 2, 2015 was a false

positive or based on poor bandwidth is even more reduced. Ex. 2. The defendant makes a

blanket statement not supported by any facts, that “false positives are likely to occur.”

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       Steve Dougherty’s affidavit is not sufficient to mandate an evidentiary hearing under

Franks. The defense expert’s affidavit never specifically points out that SI Becker’s conclusions

or analysis was incorrect. The defense expert, Steve Dougherty, states that the law enforcement

modified version of Freenet “uses a large list of suspected illegal files and the behavior of

Freenet’s routing to estimate the probability that received requests originated from the peer they

were received from instead of forwarded through the peer from a different one, based in part on

how many requests are received from the peer relative to the file’s total size.” Defendant’s Ex. B

¶ 11. “For the attack’s estimation to be accurate, routing must be working well between the

peers at that particular time.” Defendant’s Ex. B ¶12. Nowhere does Mr. Dougherty claim that

the routings were not working effectively at that time of SI Becker’s investigations. Further, as

detailed above, SI Becker could tell from looking at the streams of data, the number of peers the

defendant had, the frequency of the blocks being received, and the timing of file being received

by the defendant, that the routing and bandwidth were working correctly.

       There are no false statements in the search warrant affidavit. The omissions, which are

basically the raw data backing up SI Becker’s ultimate conclusions, only bolsters the probable

cause when supplementing. Neither prong of the Franks test has been met and, therefore, the

defendant is not entitled to a Franks hearing.



                                     III.    CONCLUSION

       In conclusion, defendant fails to establish that any of the statements in the affidavit are

deliberately false or made in reckless disregard for the truth. A Franks hearing should not be

granted unless there is actual evidence that the search warrant was invalid. The search warrant is

valid and there is no evidence otherwise. The omissions from the search warrant affiant would

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not change the probable cause basis for the issuance of the search warrant once supplemented

into the affidavit. The affidavit of Steve Dougherty submitted by the defendant also does not

prove which statements in the affidavit are deliberately false or made with reckless disregard for

the truth. The defendant has not met his burden of establishing the need for a Franks hearing.

The defendant has not shown any falsehood nor any material or significant omission from the

search warrant affidavit. Wherefore, the government respectfully requests this Court to overrule

and deny defendant’s motion for a Franks hearing.



                                             Respectfully submitted,


                                             RICHARD G. CALLAHAN
                                             United States Attorney


                                             s/ Colleen Lang
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2016, the foregoing was filed electronically with
the Clerk of the Court. The foregoing was emailed to all counsel of record by the undersigned.


                                            s/ Colleen Lang
                                            Colleen Lang, #56872MO
                                            Assistant United States Attorney




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